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AO 245D -C AED (R ev. 9/01) Sheet 1 - Judgment in a Criminal C ase for R evocation




                                        United States District Court
                                                Eastern District of California

           UNITED STATES OF AMERICA                                                  JUDGMENT IN A CRIMINAL CASE
                      v.                                                             (For Revocation of Probation or Supervised Release)
                                                                                     (For Offenses committed on or after November 1, 1987)
               CLEADUS SHELTON
                        (Defendant’s Name)                                           Criminal Number: 1:00CR05102-006


                                                                                     JAMES HOMOLA
                                                                                     D efendant’s Attorney


THE DEFENDANT:
[U] admitted guilt to violation of charge(s) 1, 2, 3 as alleged in the violation petition filed on 6/12/2006 .
[]  was found in violation of condition(s) of supervision as to charge(s) after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):

Violation Number                         Nature of Violation                                                 Date Violation Occurred
CHARGE 1                                 FAILURE TO PARTICIPATE AT DECISION                                  5/24/2006
                                         HOME, A SOBER LIVING HOME
                                         RESIDENTIAL PROGRAM, LOCATED IN
                                         FRESNO, CALIFORNIA
CHARGE 2                                 FAILURE TO DRUG TEST                                                5/18/2006, 5/29/2006, 6/5/2006

CHARGE 3                                 FAILURE TO PARTICIPATE IN DRUG                                      5/18/2006, 5/25/2006
                                         COUNSELING

The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on 8/23/2004 .

       The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]        Charge(s)          is/are dismissed.


        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid.

                                                                                                          9/18/2006
                                                                                                Date of Imposition of Sentence


                                                                                                     /s/ Oliver W. Wanger
                                                                                                  Signature of Judicial Officer


                                                                                OLIVER W. WANGER, United States District Judge
                                                                                        Name & Title of Judicial Officer


                                                                                                               9/27/2006
                                                                                                                  Date
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AO 245B-C AED (R ev. 3/04) Sheet 2 - Im prisonment
CASE NUMBER:                 1:00CR05102-006                                                                 Judgment - Page 2 of 4
DEFENDANT:                   CLEADUS SHELTON


                                                          IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 6 months .




[]       The court makes the following recommendations to the Bureau of Prisons:



[U]      The defendant is remanded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at      on    .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on        .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.

                                                                RETURN
I have executed this judgment as follows:




         Defendant delivered on                                        to

at                                              , with a certified copy of this judgment.




                                                                                                 UNITED STATES MARSHAL



                                                                                            By
                                                                                                    Deputy U.S. Marshal
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AO 245B-C AED (R ev. 3/04) Sheet 3 - Supervised R elease
CASE NUMBER:                 1:00CR05102-006                                                                            Judgment - Page 3 of 4
DEFENDANT:                   CLEADUS SHELTON


                                                    SUPERVISED RELEASE
         Upon release from imprisonment, the defendant shall be on supervised release for a term of 24 months .


The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, not to exceed four (4) drug tests per month.

[]       The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

[U]      The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[]       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
         or is a student, as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                  STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
      of each month;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
      acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
      convicted of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation
      of any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
      the permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant's compliance with such notification requirement.
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AO 245B-C AED (R ev. 3/04) Sheet 3 - Supervised R elease
CASE NUMBER:                 1:00CR05102-006                                                            Judgment - Page 4 of 4
DEFENDANT:                   CLEADUS SHELTON


                                    SPECIAL CONDITIONS OF SUPERVISION

         1.    The defedant shall reside and participate in a residential substance abuse treatment center.
               Westcare, Inc, Fresno, California, for a period of 90 days; said placement to commence at the
               direction of the probation officer.

         2.    The defendant shall reside and participate in a transitional living program at Westcare, Inc,
               Fresno, California, for 90 days upon completion of inpatient component. The defendant shall pay
               the cost of program as determined by Westcare, Inc.

         3.    As directed by the probation officer, the defendant shall participate in a program of mental health
               treatment (inpatient or outpatient).

         4.    All terms and conditions previously ordered by the Court shall remain in full force and effect.
